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                           UNITED STATES DISTRICT COURT
  9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11   Edwardo Munoz, individually and on
      behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
 12
                                Plaintiff,
 13                                               [PROPOSED] ORDER GRANTING
            v.                                    JOINT STIPULATION FOR AN
 14                                               EXTENSION OF ALL REMAINING
      7-Eleven, Inc., a Texas corporation,        DEADLINES
 15
                                Defendant.             Judge: Hon. R. Gary Klausner
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 17                                                Complaint Filed: May 9, 2018
                                                   Trial Date: July 2, 2019
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      [PROPOSED] ORDER GRANTING JOINT
      STIPULATION FOR AN EXTENSION               -1-
      OF ALL REMAINING DEADLINES
Case 2:18-cv-03893-RGK-AGR Document 51-1 Filed 02/18/19 Page 2 of 2 Page ID #:317



  1         Pursuant to the Parties’ Joint Stipulation for an Extension of All Remaining
  2   Deadlines, and good cause appearing, it is hereby Ordered:
  3         1.    That all remaining deadlines be extended by 30-days, as follows:
  4               a. Discovery Cut-Off Date: May 3, 2019;
  5               b. Motion Cut-Off Date: May 17, 2019;
  6               c. Pretrial Conference: July 17, 2019; and
  7               d. Jury Trial (Est. 3 days): August 15, 2019 at 9:00 a.m.
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  9   IT IS SO ORDERED.
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 12   Dated:                         , 2019
                                                    Hon. R. Gary Klausner
 13                                                 United States District Judge
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      [PROPOSED] ORDER GRANTING JOINT
      STIPULATION FOR AN EXTENSION            -2-
      OF ALL REMAINING DEADLINES
